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  7                        UNITED STATES DISTRICT COURT
  8                       CENTRAL DISTRICT OF CALIFORNIA
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 10 PIERRE LADOW, an individual,                 Case No.: 20-cv-10059-JFW-PVCx
 11                            Plaintiff,        CONSENT JUDGMENT
 12               vs.
 13 JONA RECHNITZ, an individual,

 14                            Defendants
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 16
            Pursuant to the the Stipulation for Entry of Consent Judgment entered between
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      Plaintiff Pierre Ladow, on the one hand, and Defendant Jona Rechnitz, on the other
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      hand, the Court hereby enters judgment as follows:
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 20
            IT IS HEREBY ORDERED, ADJUDGED, and DECREED that:
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            Judgment is entered in favor of Plaintiff PIERRE LADOW, an individual, and
 22
      against Defendant JONA RECHNITZ, an individual, in the amount of $500,000.00.
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 24
      Dated: May 3, 2021
 25                                       HON. JOHN F. WALTER
                                     UNITED STATES DISTRICT COURT JUDGE
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                                       CONSENT JUDGMENT
